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                 IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

  STEPHANIE CLIFFORD,                   Case No. 2:19-cv-00119

        Plaintiff,                      Judge Michael H. Watson

 v.                                     Magistrate Judge Elizabeth
                                        Preston Deavers
  SHANA M. KECKLEY, et al.,

        Defendants.




NOTICE OF PENDING ARBITRATION RESULTING IN THE REMOVAL
                             OF LIEN
__________________________________________________________________

TO THE COURT, THE PARTIES, THEIR COUNSEL OF RECORD, AND ALL

OTHER PERSONS OR ENTITIES INTERESTED IN THIS ACTION:

      The undersigned hereby gives notice that Michael J. Avenatti has filed a

pending arbitration against Plaintiff Stephanie Clifford in JAMS Los Angeles in

which he brings claims for breach of contract and quantum meruit to recover for

legal services and recoup the costs and expenses he provided to Ms. Clifford in

multiple lawsuits, including, but not limited to: 1) Clifford v. Keckley, Case No.

2:19-cv-00119 (the present matter); 2) Clifford v. Trump, Case No. 2:18-cv-2217

(C.D. Cal.); and 3) Clifford v. Trump, Case No. 2:18-cv-6893 (C.D. Cal.). He is


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seeking over $2 million. A copy of Mr. Avenatti’s Demand for Arbitration is

attached as Exhibit “A”.

      In light of the pending arbitration and this Court’s lack of jurisdiction to

decide Mr. Avenatti’s claims, the undersigned hereby gives notice that Michael J.

Avenatti is withdrawing the Notice of Lien for Attorneys’ Fees and Costs filed in

this Court on October 3, 2019. See Dkt. 40. The undersigned gives further notice

that Mr. Avenatti does not relinquish his claim to a portion of the settlement

proceeds awarded to Plaintiff Stephanie Clifford. Rather, Mr. Avenatti requests

that any settlement provided to or made payable to Ms. Clifford or her counsel

stemming from this matter be deposited in an escrow account or with the Court

until the pending arbitration is resolved.



Dated: November 7, 2019                 Respectfully submitted,

                                        Pierce Bainbridge Beck Price & Hecht
                                        LLP



                                        By:
                                        Thomas D. Warren (77541)
                                        30195 Chagrin Boulevard, Suite 210N
                                        Pepper Pike, OH 44124
                                        Telephone: (216) 370-7866
                                        Email: twarren@piercebainbridge.com
                                        Counsel for Michael Avenatti, Esq. and
                                        Avenatti & Associates, APC



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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the

foregoing document was filed and served on all parties through the Court’s

CM/ECF filing system on November 7, 2019.




                                             Thomas D. Warren (77541)
                                             Counsel for Michael Avenatti, Esq.
                                             and Avenatti & Associates, APC




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                   EXHIBIT A




                   EXHIBIT A
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   R E QU E S T E D R E S O L U T I O N C E N T E R




                                                            November 1, 2019
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                   EXHIBIT A




                   EXHIBIT A
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                                    EXHIBIT
                                                exhibitsticker.com




                                        A
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                   EXHIBIT B




                   EXHIBIT B
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                RELEASE OF ALL CLAIMS AND INDEMNITY A GREEMENT

         This is a release of all claims and an agreement to defend and indemnify entered into by

  Stephanie Clifford, also known as Stormy Daniels ("Plaintiff'), for and in consideration of the

 payment of FOUR HUNDRED FIFTY THOUSAND DOLLARS ($450,000.00) made by the

  City of Columbus, Ohio. The terms of this Release and Agreement are more specifically described

  as follows.

                                    RECITALS AND TERMS

         1.     The Incident. On July 11, 2018, Plaintiff was arrested at Sirens Gentlemen's Club

 by members of the Columbus Division of Police ("CPD") and charged with three counts of

 violating O.RC. 2907.40(C)(2) Illegal Sexually Oriented Activity in a Sexually Oriented

 Business. The involved officers were Shana Keckley, Whitney Lancaster, Mary Praither, and

 Steven Rosser. Plaintiff was handcuffed, transported from the scene of the arrest, and slated at

 the Franklin County Jail following identification processing at CPD headquarters. She was

 released from custody on July 12, 2018 and her charges were dismissed that same day. These

 facts and circumstances ("the Incident") are more fully described in Plaintiffs First Amended

 Complaint filed in the lawsuit captioned Stephanie Clifford v. Shana M Keckley, et al. , United

 States District Court Case No. 2: 19-cv-00119 pending in the Southern District of Ohio ("the

 Lawsuit"). In the Lawsuit, Plaintiff alleges, among other things, that: (a) she was arrested and

 charged without probable cause in violation of her Fourth and Fourteenth Amendment rights; (b)

 the policy and practice of the City of Columbus was the moving force behind her arrest; and (c)

 she suffered damages. Plaintiff alleges that all sums set forth herein constitute damages on

 account of personal physical injuries or sickness, within the meaning of Section 104(a)(2) of the

 Internal Revenue Code of 1986, as amended. Plaintiff alleges that these damages include
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 payment for the physical injuries, pain and suffering complained of in the Complaint during her

 arrest and detention including, but not limited to, observable bodily harm in the form of cuts and

 bruises to her wrists inflicted during the arrest and detention.

         2.      Payment. For purposes of effecting a settlement with Plaintiff, and in consideration

 of the terms set forth in this Release and Agreement, the City of Columbus has agreed to deliver

 settlement proceeds in the total amount of FOUR HUNDRED FIFTY THOUSAND DOLLARS

 ($450,000.00), without interest, in full settlement of all claims or potential claims that Plaintiff may

 have against any person in connection with the Incident. The settlement check will be delivered to

 Plaintiff's counsel, Sabol & Mallory, LLC. The settlement check will be made payable to Stephanie

 Clifford and Brewster & DeAngelis, PLLC.

         3.      Subj ect to Columbus City Council Approval. Plaintiff understands and expressly

 agrees that this Release and Agreement is contingent upon the approval of Columbus City Council.

        4.      Di smi ssal and release. Upon delivery of the aforementioned payment as described in

 Paragraph 2 of this Release and Agreement, Plaintiff shall dismiss with prejudice all claims she has

 made in the Lawsuit with the parties bearing their own costs. Additionally, Plaintiff releases,

 discharges, and by these presents does for herself, her heirs, executors, administrators and assigns,

 releases, acquits, and forever discharges the City of Columbus and any of its employees, agents, and

 officials, including, but not limited to, Shana Keckley, Whitney Lancaster, Terry Moore, Mary

 Praither, and Steven Rosser, and any other CPD officers involved in the Incident in any way

 whatsoever, and any and all other persons, firms, and corporations, whether herein named or

 referred to or not, of and from any and all past, present, future actions, causes of actions, claims,

 demands, damages, costs, attorney's fees, loss of services, loss of employment, loss of benefits,

 expenses, compensation, third party actions, suits of law or in equity, including claims for suits for



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 contributions and/or indemnity of whatever nature, and all consequential damage on account of or

 in any way growing out ofthe Incident.

         5.      Duty to Defend and Indemnify. Plaintiff agrees that the City of Columbus and its

 employees, agents, and officials, including, but not limited to, Columbus Police Officers Shana

 Keckley, Whitney Lancaster, Terry Moore, Mary Praither, and Steven Rosser, and any other CPD

 officers involved in the Incident, are released and discharged from liability to all lien-holders of

 Plaintiff in connection with claims for damages relating to the Incident and that all such liens will be

 satisfied and discharged from the proceeds of this settlement by Plaintiff. Plaintiff agrees to defend,

 indemnify, and hold harmless the City of Columbus and any of its employees, agents, and officials,

 including, but not limited to, Columbus Police Officers Shana Keckley, Whitney Lancaster, Terry

 Moore, Mary Praither, and Steven Rosser, and any other CPD officers involved in the Incident,

 from all liens or derivative claims asserted against or through Plaintiff for damages by third parties

 relating to the Incident, including, but not limited to, attorney's liens, Medicare liens, Medicaid

 liens, Social Security liens, ERISA liens, Public Aid liens, Ohio Bureau of Workers Compensation

 liens, any subrogation claims that may be presented for payment of expenses for medical treatment

 incurred, and any claims by relatives or next-of-kin.

         6.      No A<Unission of Liabiljty. Plaintiff understands and agrees that this settlement is a

 compromise of disputed claims, and that the City of Columbus' payment is not to be construed as an

 admission of liability on the part of the City of Columbus, Columbus Police Officers Shana

 Keckley, Whitney Lancaster, Terry Moore, Mary Praither, or Steven Rosser, any other CPD officers

 involved in the Incident, or any other employee, agent, or official of the City of Columbus by whom

 liability is expressly denied.




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        7.      Breach and Enforcement. Plaintiff agrees that any violation of the terms of this

 Release and Agreement may entitle the City of Columbus to injunctive relief for violation of the

 same. Any such violation may result in irreparable injury to the City of Columbus, for which there

 is no adequate remedy at law.

        8.      Miscellaneous. Plaintiff understands and expressly agrees that this Release and

 Agreement has been freely and voluntarily entered into and that no oral or written representations or

 promises of any kind, unless specifically contained in this Release and Agreement, have been made

 by any person to induce or otherwise influence her to enter into this Release and Agreement.

 Plaintiff acknowledges that she has had the opportunity to seek the advice and benefit of legal

 counsel and have received such advice and benefit prior to executing this Release and Agreement.

        9.      Choice ofLaw/Forum. This Agreement shall be construed, enforced and governed

 in accordance with the laws of the State of Ohio. Any dispute pertaining to this Release and

 Agreement or its terms shall be litigated exclusively in the Franklin County, Ohio Court of

 Common Pleas.

        10.     Full Agreement. This Release and Agreement constitutes the entire agreement of

 Plaintiff and the City of Columbus, and may not be contradicted by evidence of any prior

 agreement, whether oral or written, or by any contemporaneous oral agreement. This Release and

 Agreement is a complete and exclusive statement of the terms of the agreement which may not be

 explained or supplemented by evidence of inconsistent additional terms.




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        SWORN TO BEFORE ME and subscribed m my presence this                     /7    day of

   tltm&ETL    2019.




                           MARielOU TRAY



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